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uNiTED sTATEs oF AMERch l'W YNMEUM
Piaintifr
vs.
CR. No. 05-20252-£)
onRch BEARD
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Thursda§¢l October 27l 2005, at 9:00 a.m., in Courtroom 3, 9th F|oor of

the Federa| Buildingl lV|emphis, TN.

 

The period from August 25, 2005 through November18, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this 2.\_,{ day of September, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

